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 MARLBOROUGH DECLARATION
 EXHIBIT 2
 9/1/2021 and 9/3/2021 Camp E-Mails to Court
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Christopher Marlborough

From:                          Joseph A.Camp <joey@joeycamp2020.com>
Sent:                          Friday, September 3, 2021 1:43 PM
To:                            Christopher Marlborough; pt@ptesq.com; vm@zmolaw.com;
                               richardtorresdna@gmail.com; JSA_orders@njd.uscourts.gov
Subject:                       Re: Christian Exoo - Deleted Twitter - Case 2:20-cv-12880-JMV-JSA
Attachments:                   16a1608b3fc30b68.png; 16a160882bb037ed.png



Dear Judge,


Please find proof defendant Exoo's attorney is lying about the status of the AntiFashGordon account.

Here are the links of the archives attached.

https://archive.is/QnVYx https://archive.is/qV9Gd https://archive.is/n3Po5

For thr sake of fairness and integrity of the legal process ease sanction Defendant's attorney for his
blanket lies regarding the status of the account.

Thank you kindly.

--

_/s/__________________

Joseph A. Camp

CampJosephA@gmail.com

JosephACamp@yandex.com

@CampJosephA (Twitter, Facebook, Instagram, LinkedIn)

720.454.5240



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8:25 AM, September 1, 2021, "Joseph A. Camp" <joey@joeycamp2020.com>:
      Hello all,

      I am writing because I noticed immediately when Christian Exoo deactivated his Twitter
      account @AntiFashGordon on Twitter, which set the clock ticking per Twitter policies to
      permanently remove the account within about 30 days, thus losing all publicly available
      content -which are preserved in most instances- and just as important the Direct Message
      exchanges between Exoo and his Enterprise co-defendants (known or unknown) privately.
      After de-activation the account holder has 30 days to sign back in to keep the account
      public.

      As soon as this development happened my team started sharing this seemingly attempted
      violation of the preservation orders with our 50k followers across various social media and
      encrypted communication channels. Substantial amounts of others observed the account
      had disappeared also.

      Scraping software works to preserve text only format of Tweets. This doesn't have the same
      appearance, nor oftentimes does it include videos and photograph attachments to the
      Tweets. Further, it doesn't allow for the observer to see who engaged with the Tweet
      (retweet, like, subtweet, etc), and it doesn't allow for approximate understanding of total
      reach of the tweet. The account has over 25,000+ tweets and as such the scraping of the
      account amounts to a spreadsheet of over 25,000+ tweets that preserves the text, but, for
      example, on those tweets that Exoo replied to another's content it wouldn't show where,
      when, engagement, or which other account was replied to. This makes public preview of
      the content scraped almost useless for investigative purposes such as building a per click
      value of a certain tweet, or determining who encouraged criminal conduct by Exoo, or what
      his influence is per Tweet.

      Another loss when dealing with de-activated accounts is what we call "breaking search"
      meaning that we are unable to comprehend the full conversation between multiple
      accounts communicating back and forth publicly because several of the replies and
      communication tweets have been removed with the deactivation of the account in
      question. This means that a mundane tweet such as "do it" by Mr. Exoo in response to
      another account that says "I think I am going to kill XYZ" would never be known for the
      value that it is. Again, there are over 25,000+ tweets.

      The deactivation of the account seems specifically targeted to stifle quick and efficient
      abilities of counsel to find a specific tweet in question and gage it's value to the case.

      Please let me know if you need affidavits of anyone to demonstrate that Defendant counsel
      is incorrect in their attempt to claim that the account wasn't deactivated when indeed it
      was -for whatever reason, hook or crook. I can rustle up any number of affidavits so that
      you can fix your personal attack response to the letter seeking conference by Plaintiff's
      attorney..

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 I am an uninvolved party in this matter and have no dog in the fight except to watch and
 report on the proceedings. What we found is that Exoo has so many victims that there is a
 large audience for the continued distribution of updates in this matter. This development -
 the deactivation of the Twitter account @@AntiFashGordon was a relief to many who had
 no idea that legal implications of why it is imperative that the account not be deleted -
 specifically the discovery and preservation of 25,000+ public tweets and unknown number
 but vitally important to discovery and case proceedings the Direct Private Messages.

 We believe that Twitter is complacent in this matter as the preservation request does not
 indicate that Twitter has taken steps to secure the content of the account from fraudulent
 attempts to destroy evidence as Exoo just did.

 Thank you all for your attention to this. It is important that counsel for the defendant
 doesn't get to manipulate the court, out of ignorance or sheer fraud.

 ~Joseph

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                                                                                                                           Joey Camp 2020
      To help protect y our priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.
      Logo




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                                                                                                                           Website:
                                                                                                                                        www.joey.camp
                                                                                                                           Address:     @joeycamp2020


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